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                          2023-2163, 2023-2164

                                      IN THE
              United States Court of Appeals
                  for the Federal Circuit
                            ________________________________


            GUIZHOU TYRE CO., LTD., GUIZHOU TYRE
      IMPORT AND EXPORT CO., LTD., AEOLUS TYRE CO., LTD.,
                                                                 Plaintiffs-Appellants,
   QINGDAO FREE TRADE ZONE FULL-WORLD INTERNATIONAL
TRADING CO., LTD., XUZHOU XUGONG TYRES CO., LTD., TRELLEBORG
 WHEEL SYSTEMS (XINGTAI) CO., LTD., QINGDAO QIHANG TYRE CO.,
          LTD., WEIHAI ZHONGWEI RUBBER CO., LTD.,

                                                                 Plaintiffs,
                                         v.

                           UNITED STATES,

                                                                  Defendant-Appellee.
       Appeal from the United States Court of International Trade in
        Case No. 17-cv-00100, Senior Judge Timothy C. Stanceu

 REPLY BRIEF FOR PLAINTIFF-APPELLANTS GUIZHOU TYRE CO.,
   LTD., GUIZHOU TYRE IMPORT AND EXPORT CO., LTD., AND
                  AEOLUS TYRE CO., LTD.
                           ________________________________


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                                         Guizhou Tyre Co., Ltd., Guizhou Tyre
                                         Import and Export Co., Ltd., and
                                         Aeolus Tyre Co., Ltd.
Dated: June 20, 2024
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FORM 9. Certificate of Interest                                                                   Form 9 (p. 1)
                                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-2163 (consolidated with 23-2164)
   Short Case Caption Guizhou Tyre Co., Ltd. v. US
   Filing Party/Entity Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd., Aeolus Tyre Co., Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        06/20/2024
  Date: _________________                         Signature:        /s/ Jordan C. Kahn

                                                  Name:             Jordan C. Kahn
               Case: 23-2163          Document: 45      Page: 4       Filed: 06/20/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Guizhou Tyre Co., Ltd.

Guizhou Tyre Import and Export Co.,
Ltd.


Aeolus Tyre Co., Ltd.




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                  Form 9 (p. 3)
                                                                                  March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬       Additional pages attached

Brandon M. Petelin                Elaine F. Wang             Andrew T. Schutz

Mark E. Pardo




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                         ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬       Additional pages attached
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                                INTRODUCTION

       In its Opening Brief, Plaintiffs-Appellants Guizhou Tyre Co., Ltd. (“GTC”)

and Guizhou Tyre Import and Export Co., Ltd. (“GTCIE”) (collectively,

“Guizhou”),1 and Aeolus Tyre Co., Ltd. (“Aeolus”) (Guizhou and Aeolus are

collectively, “Respondents”) demonstrated that the U.S. Department of Commerce

(“Commerce” or “Department”) unlawfully denied separate rate status for GTC

and Aeolus in the seventh administrative review (“AR7”) of the antidumping duty

(“ADD”) order on new pneumatic off-the-road-tires (“OTR”) from the People’s

Republic of China (“China” or “PRC”). Respondents’ Corrected Opening Brief

(Feb. 20, 2024), ECF 35-36 (“Opening Br.”). Commerce improperly:

     employed the separate rate analysis for respondents that are majority-
      owned by state owned enterprises (“SOE”), notwithstanding that
      Guizhou and Aeolus are only 25.2% and 49.06% SOE-owned,
      respectively. Id. at 35-49;

     found that the presumption of state control, long recognized by this
      Court, had not been rebutted notwithstanding extensive record
      evidence that Guizhou and Aeolus were independent from the Chinese
      government. Id. at 49-60;

     did not rely on substantial evidence necessary to deny separate rates
      for either GTC or Aeolus. Id. at 61-81; and

     contradicted its conclusion in the preceding fifth administrative
      review (“AR5”) of the ADD order on OTR from China, in which


1
      GTC produced the subject merchandise exported to the United States by its
wholly-owned affiliate GTCIE, and both participated in the administrative
proceeding resulting in GTC’s separate rate denial.
                                         1
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      GTC was granted a separate rate despite having 33.84% SOE-
      ownership. Id. at 57-60.
These demonstrations are not undermined by the Response Brief filed by

Defendant-Appellee United States (“Government”). Response Brief (May 1, 2024),

ECF 39-40 (“Gov. Br.”). As set forth in turn below:

 1.   the Government misapplied the presumption by requiring that GTC
      and Aeolus conclusively demonstrate an absence of potential
      government control when—per the required application of rebuttable
      presumptions—only a minimum quantum of contrary evidence need
      be proffered;

 2.   GTC and Aeolus rebutted the presumption with substantial evidence
      demonstrating an absence of state control, including that the
      government entity owning the SOE proclaimed that it did not control
      GTC, financial statements so attesting, the SOE being unable to pass
      resolutions at GTC’s May 2015 meeting, a report memorializing a
      cessation of intertwined operations between the SOE and Aeolus
      before the period of review (“POR”), and statements of non-control
      supported by substantial documentation and legal protections;

 3.   Commerce’s rationale for denying separate rate status was not
      supported by substantial evidence, as SOEs voting to elect board
      members do not reasonably establish that Respondents’ export
      activities were actually controlled by the Chinese government –
      Commerce’s rationale effectively was based solely on the fact that
      Respondents have sizable SOE ownership;

 4.   Commerce improperly employed the separate rate analysis used to
      determine whether majority SOE-owned respondents should be
      granted separate rate status, when this analysis does not extend to
      respondents with minority SOE-ownership; and

 5.   Commerce arbitrarily reversed its separate rate practice, as evidenced
      by its prior grant of a separate rate for GTC when it had significantly
      greater SOE-ownership than it had in this POR.


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I.    THE GOVERNMENT MISAPPLIES THE PRESUMPTION OF
      GOVERNMENT CONTROL IGNORING THE FACT THAT SUCH
      PRESUMPTION “BURSTS LIKE A BUBBLE”

      The Government properly identifies the overarching issue in this case,

whether “Commerce’s determination that Guizhou Tyre and Aeolus failed to rebut

the presumption of government control is lawful and supported by substantial

evidence.” Gov. Br. at 2. The Government further correctly explains that “this

Court has repeatedly sustained Commerce’s authority to apply a rebuttable

presumption of government control in {ADD} proceedings involving a non-market

economy.” Gov. Br. at 22. The Government, however, ignores the manner in

which this Court, decades ago, reasoned how presumptions operate under the

Federal Rules of Evidence (“FRE”):

      Rule 301 embodies what is known as a bursting bubble theory of
      presumptions. Under this theory, a presumption is not merely
      rebuttable but completely vanishes upon the introduction of
      evidence sufficient to support a finding of the nonexistence of the
      presumed fact. . . . {T}he evidence must be sufficient to put the
      existence of a presumed fact into genuine dispute. The presumption
      compels the production of this minimum quantum of evidence
      from the party against whom it operates, nothing more.

Aukerman Co. v. R.L. Chaides Constr. Co., 960 F.2d 1020, 1037 (Fed. Cir. 1992)

(emphases added) (citations omitted).

      The Government miscasts the presumption of state control as a burden on

respondents to completely disprove potential government control. It claims that

“Appellants have not provided any coherent reason for applying a rule from an

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abrogated patent case to govern Commerce’s exercise of discretion in this

context—and there is none.” Gov. Br. at 26. Yet the Government’s discussion of

laches and the Patent Act, id. at 25, do not affect this Court’s clear discussion as to

how presumptions operate as a general legal matter. Contrary to the Government’s

claim, authority for applying the Aukerman standard is found in the legal definition

of the term “presumption”:

      Presumption is a legal inference that must be made in light of
      certain facts. . . . ; a party challenging it can overcome the
      presumption by providing the appropriate burden of proof.

      Most presumptions are rebuttable, meaning that they are rejected
      if proven to be false or at least thrown into sufficient
      doubt with evidence.

Wex Legal Dictionary, LEGAL INFORMATION INSTITUTE, available at:

https://www.law.cornell.edu/wex/presumption (emphases added).

      This Court’s recent precedent cited extensively by the Government, Gov. Br.

at 28-33, 47-47, 54, confirms that the Aukerman standard and legal definition of

the presumption of government control apply in this case: “the burden lies with

{the respondent} to develop a full record and affirmatively rebut the

presumption.” Zhejiang Mach. Imp & Exp. Corp. v. United States, 64 F.4th 1364,

1371 (Fed. Cir. 2023) (“ZMC”) (emphasis added). This Court likewise reasoned

that: “under the law for non-market economy countries, all respondents are

presumed to be subject to governmental control unless they meet the burden


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of proving otherwise.” Dongtai Peak Honey Indus. Co. v. United States, 777 F.3d

1343, 1354 (Fed. Cir. 2015) (emphasis modified).

      These statements are entirely consistent with Aukerman: “respondents are

presumed to be subject to governmental control unless they” “affirmatively rebut

the presumption” by providing “evidence . . . sufficient to put the existence”

government control “into genuine dispute.” Id. (emphasis in original); ZMC, 64

F.4th at 1371; Aukerman, 960 F.2d at 1037.

      The Government misplaces reliance on this Court’s first case adjudicating

Commerce’s presumption of government control. Gov. Br. at 23-25. In Sigma

Corp. v. United States, this Court affirmed “Commerce’s authority to employ a

presumption of state control for exporters in a nonmarket economy and to place the

burden on the exporters to demonstrate an absence of central government control.”

117 F.3d 1401, 1405 (Fed. Cir. 1997). This statement does not require that

respondents conclusively establish an absence of government control. First, Sigma

affirmed Commerce’s separate rate denial because the “evidentiary showing was

insufficient to overcome the presumption.” Id. at 1407 (emphasis added).

Moreover, the facts of Sigma confirm that the respondent in that case failed to

satisfy the threshold, minimal evidentiary requirement:

      Commerce noted that {exporter} Guangdong “provided almost no
      evidence on the record establishing that it negotiated prices or sales
      with its customers, or that it was actually responsible for its profits or
      losses.” . . . . Guangdong provided only a certification from its

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      parent corporation attesting that Guangdong acted independently . . . .
      Commerce concluded that such a certification, “standing alone
      without any supporting documentation does not establish the
      absence of de facto control.”

      Commerce noted that Guangdong had submitted copies of its 1986
      and 1988 business licenses in an effort to demonstrate its
      independence. . . . As Commerce concluded, however, the 1988
      business license does not “establish clear independence from the
      parent corporation,” as it “describes the scope of Guangdong’s
      business activities without identifying the government’s role in those
      activities,” and fails to prove the absence of de facto government
      control with respect to export sales and pricing decisions.

      It was proper for Commerce to require . . . more to establish
      Guangdong’s independence of the central government. . . . In view of
      the presumption that an exporter in a nonmarket economy country is
      part of the national corporation and Commerce’s reasonable
      conclusion that {importer} D & L’s evidentiary showing was
      insufficient to overcome that presumption, we affirm . . . . .

Id. at 1406-07 (emphases added). Given that the scant evidence proffered in Sigma

was “insufficient to overcome the presumption,” Sigma does not stand for the

proposition that respondents are only entitled to separate rates if they conclusively

establish “an absence of central government control.” Id. at 1405.

      In this appeal, Respondents ask this Court to reconcile the Aukerman

rebuttable presumption and substantial evidence standards. Before this Court

assesses whether Commerce’s findings that GTC and Aeolus failed to rebut the

presumption are supported by substantial evidence, it needs to decide whether the

presumed state control was “thrown into sufficient doubt.” Wex Legal Dictionary

(emphasis added). To overcome the presumption, Guizhou and Aeolus needed only

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to submit “evidence sufficient to support a finding of the nonexistence of the

presumed fact”—i.e., that they were not controlled by the Chinese government.

Aukerman, 960 F.2d at 1037 (emphasis added).

      In deciding these issues, this Court should adopt the U.S. Court of

International Trade (“CIT”) rationale in Jilin Forest Indus. Jinqiao Flooring Grp.

v. United States, 617 F.Supp.3d 1343 (CIT 2023), appealed as Fed. Cir. Case No.

23-2245. The CIT in Jilin Forest found that “Commerce has failed to provide a

lawful justification for its use of the NME presumption.” Id. at 1369. In reaching

this conclusion, the CIT expressed concern as to “the crux of Commerce’s

argument, i.e., that somehow, apart from other executive agencies, it has special

powers that free it from the constraints placed upon other agencies that must

identify a statutory or regulatory source of their actions.” Id. at 1367. The CIT in

Jilin Forest also emphasized recent judicial precedent undermining the

presumption: “Recent cases also suggest that the wind is blowing against wide-

ranging claims for deference.” Id.

      Jilin Forest establishes that, at minimum, Commerce lacks discretion to

implement the rebuttal presumption of state control in a manner contrary to that

proscribed by FRE 301.2 Commerce does not have “special powers that free it from


2
       The Government correctly notes that Respondents have not advanced the
statutory challenge accepted by the CIT in Jilin Forest. Gov. Br. at 26 n.12. Yet
Jilin Forest supports Respondents’ longstanding claim that Commerce unlawfully
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the constraints placed upon other agencies” with respect to rebuttal presumptions.

Id. While Commerce’s discretion may be further curtailed in the event that

Chevron is revisited, Opening Br. at 50 n.5, Commerce currently cannot disregard

the Aukerman standard; that is, as with all legal rebuttal presumptions, the

presumption of state control bursts like a bubble upon the introduction of sufficient

contrary evidence.

II.   RESPONDENTS REBUTTED THE PRESUMPTION OF STATE
      CONTROL

      GTC submitted information far surpassing the requisite “minimum quantum

of evidence” establishing its independence from the Chinese government.

Aukerman, 960 F.2d at1037. Guizhou provided a formal clarification of GTC’s

relationship with Guiyang Industry Investment (Group) Co., Ltd. (“GIIC” or

“GIIG”), which owns 25.2% of Guizhou and is under the supervision of the

Guiyang State-owned Assets Supervision and Administration Commission

(“SASAC”). Guizhou Supplemental Section A Questionnaire Response (May 25,

2016) (“SAQR”), at 6, Appx1888, Exhibit 10, Appx2763-2770 (“Guiyang SASAC

Clarification”). The Guiyang SASAC “confirmed that it does not have the



misconstrued the presumption. Moreover, should this Court invalidate the
presumption, Commerce would have acted unlawfully in AR7 and such an
“intervening judicial decision” would be an “exception” to the exhaustion
requirement. Papierfabrik Aug. Koehler AG v. United States, 36 CIT 1632, 1635
(2012).

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authority to make decisions for GTC. . . . Guiyang SASAC, which has an

interest in {GTC}, does not have the right to make a decision on appointment

or dismissal of board directors or management of {GTC}.” Id. at 2, Exhibit 1

(emphases added), Appx1888, Appx2769. Similarly, GTC’s 2015 Annual Report

provided:

      The Company . . . completely separates from the controlling
      shareholder {GIIC} in personnel, assets and finance, etc., with
      independent organization and independent business. The controlling
      shareholder strictly abides by the provisions of laws and
      regulations and exercise shareholders’ rights pursuant to laws.

Id. at 3, Exhibit 3 at 16, Appx2205.

      Guizhou also detailed how the SOE’s proposals were rejected at the 2014

Annual General Meeting (“May 2015 Meeting”). At that time, proposals to appoint

two directors and preliminarily distribute profits advanced by GIIC failed. Guizhou

Second SAQR (Aug. 8, 2016) (“2SAQR”) at 9 (emphasis added), Exhibit 7C,

Appx2941, Appx3446-3490. This occurrence, regardless of what subsequently

transpired, rebuts the presumption that GTC is controlled by the Chinese

government through its SOE shareholder.

      Aeolus likewise provided sufficient evidence that it was independent from

the SOEs that collectively own 49.06% of Aeolus’s shares. See Aeolus Sperate

Rate Application (Dec. 11, 2015) (“SRA”), at 13, Appx263. In particular, the

Rectification Report executed by the SOE China National Chemical Corporation


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(“ChinaChem”) that owns 42.58% of Aeolus’s shares, id., provides that:

“ChinaChem fully respects the independence of a listed company and has

never inquired about financial information of the Company (Aeolus).” Aeolus

Rebuttal Factual Information (Jan. 8, 2016) (“Aeolus RFI”), Exhibit 1A (emphases

added), Appx777. As documented in the Rectification Report, ChinaChem further

agreed to “strictly comply with the provisions of the Company Law, Code of

Corporate Governance for Listed Companies and other relevant law and

regulations, and will respect the independence . . . and will not interfere with .

. . {Aeolus’s} financial and accounting activities.” Id. (emphasis added). Aeolus

also provided sample documents to show that investments, key projects, and tender

processes were reviewed and approved by the internal management of Aeolus—

not ChinaChem—during and after the AR7 POR. Id. Exhibit 2, Appx782-787.

      Further support for the independence of GTC and Aeolus was provided in

multiple responses attesting to their independence, each of which were certified as

“accurate and complete” and accompanied by supporting documentation, where

applicable. SRA, Appx277; Guizhou Section A Questionnaire Response (Jan. 20,

2016) (“AQR”), Appx805-806; SAQR, Appx1878-1879, Aeolus Supplemental

Separate Rate Application (Aug. 2, 2016) (“SSRA”), Appx2900; 2SAQR,

Appx2928-2929; 3SAQR, Appx3547-3548. These certified statements include

Guizhou attesting to the facts that:


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    its “prices are not subject to review or guidance from any
     governmental organization”;

    neither GTC “nor any manager of the Company is expected to
     achieve foreign exchange targets set by any governmental authority”;

    “The export price less the cost of goods sold and applicable sales
     expenses results in export profits. The Company can dispose these
     profits as it needs for its business operations”;

    As a public company, the board of directors of GTC is selected by its
     shareholders at a shareholders’ meeting, and its senior management
     are selected by its board of directors;

    As the single shareholder of GTCIE, GTC selects GTCIE’s
     management; and

    Neither GTC nor GTCIE is required to notify any governmental
     authorities as to who are their managers.

AQR at 10-11 (emphasis added), Exhibit A-5, Appx819-820, App921-924.

     Aeolus likewise attested to the facts that:

    it “independently operates its business and its intermediate and
     ultimate shareholders cannot direct or dictate the company’s
     operations or business decisions. Aeolus’s export prices are set
     independent of government influence and without the participation or
     approval of any government authority.”;

    its “contracts and other agreements are negotiated and concluded
     without oversight by or consultation with any government authority
     or SASAC entity.”;

   it “has independent authority to select its board of directors and/or
    board of supervisors and its management. Neither government
    entities nor SASAC have the authority to appoint the board of
    directors and/or board of supervisors of Aeolus.”;


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    its “board of directors during the POR was elected at Aeolus’s
     shareholders’ meeting pursuant to the relevant procedures . . . and in
     conformity with the AoA of Aeolus.” Aeolus’s senior management
     is thereby selected by its board members.;

    it “retains the proceeds of its sales and makes independent decisions
     regarding the disposition of profits or financing of losses.”; and

    during the POR it did not make any disbursements to government
     accounts other than for tax or government-provided goods or services.

SRA at 13-15 (emphasis added), 19-21, Exhibits 13-14, Appx263-265, Appx269-

271, Appx681-700.

      Respondents also provided substantial evidence that, as publicly listed

companies, there existed significant legal restrictions on all shareholders—

including GIIC and ChinaChem—to ensure that they abide by the procedures

applicable to all investors. See AQR Exhibit A-3A: PRC Company Law, Appx842-

891; SAQR Exhibit 9: PRC Code of Corporate Governance for Listed Companies

(“PRC Code”), Appx2745-2762; SAQR Exhibit 1: GTC Articles of Association

(“AoA”), Appx1896-1900; SRA Exhibit 11: Aeolus AoA, Appx581-675. Such

“evidence show{s} that the only way in which GIIC may participate in GTC’s

decision-making” and “Aeolus’ shareholders may participate in Aeolus’ decision-

making is through normal courses available to all shareholders.” Guizhou Case

Brief at 20 (Dec. 14, 2016), Appx3886; Aeolus Case Brief (Dec. 14, 2016), at 17,

Appx3852. These ample legal requirements and safeguards include:



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    GTC/Aeolus AoA 40 with PRC Company Law Articles 3 and 99
     provide strict election procedures, through which board members
     were elected democratically and transparently by shareholders, and
     chairmen were elected by the board;
    PRC Code Articles 20–21 limit controlling shareholders, prohibiting
     SOE-owned shareholders from either circumventing the shareholders’
     meetings or the board of directors in selecting management or
     interfering with the companies or other shareholders;

    GTC AoA 83 limits GIIC from nominating more than one third of
     GTC’s directors; in fact, the 6th Board was nominated in 2012 by the
     previous board—without GIIC/Guiyang SASAC involvement;

    GTC/Aeolus AoA 57, 83, and 88 provide for strict voting procedures,
     allowing cumulative voting to prevent SOE-owned shareholders
     from controlling GTC elections and internet voting to maximize
     participation;

    Aeolus AoA 119, 147, 149, and 151 provide strict election procedures
     for senior management, through which Aeolus’s management was
     selected by board members—not by shareholders or any governmental
     entity; and

    GTC AoA 124, 130, 132, and 134 provide strict election procedures
     for senior management, through which board members selected
     GTC’s management.

PRC Company Law, Appx843-857; PRC Code, Appx2750; GTC AoA, Appx1956-

1978; Guizhou Case Brief at 21-25, Appx3887-3891; SRA Exhibits 8A–B, 11,

Appx317-332, Appx363, Appx643-664; SRA Exhibit 11, Appx642-664.

      The presumption of GTC and Aeolus being state-controlled “completely

vanish{ed}” because Respondents submitted “evidence sufficient to support a

finding of the nonexistence of the presumed fact.” Aukerman, 960 F.2d at 1037

(emphases added). By contrast, the respondent in this Court’s seminal Sigma case
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“provided almost no evidence”—“only a certification” and “business licenses in an

effort to demonstrate its independence.” 117 F.3d at 1406. In light of the plethora

of evidence supporting GTC’s independence, the presumption burst. Such ordinary

operation of presumption law does not “flip . . . the presumption of government

control and the deferential standard of review” as the Government argues. Gov. Br.

at 49. Rather, Commerce unlawfully denied Respondents’ separate rate because the

presumption, in fact, was rebutted.

III.   COMMERCE’S SEPARATE RATE DENIALS ARE NOT
       SUPPORTED BY SUBSTANTIAL EVIDENCE

       With Guizhou and Aeolus providing evidence bursting the presumption, the

issue on appeal narrows to whether Commerce’s separate rate denials are

supported by substantial evidence—i.e., without considering the presumption.

Critically, Commerce’s longstanding separate rate analysis upon which Commerce

purportedly relied in AR7 evaluates “government control over . . . export

activities” and requires evidence of “actual control” instead of mere “potential

control.” Opening Br. at 25-26; U.S. Department of Commerce Memorandum

(Aug. 26, 2016) (“Separate Rate Memo”), at 2 (emphasis added), Appx1434;

Silicon Carbide from China, 59 Fed. Reg. 22,585, 22,587 (May 2, 1994) (final

determination); Heavy Forged Hand Tools from China, 71 Fed. Reg. 54,629 (Sept.

14, 2006) (final results), Issues and Decision Memorandum (“IDM”) Comment 3

(emphases added).

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      A.    GTC’s Separate Rate Denial Is Unsupported

      The scant evidence relied upon by Commerce does not reasonably support

the conclusion that GTC’s export activities were actually controlled by the Chinese

government. Commerce first heralds GTC’s 2012 Meeting: “GIIG’s votes

dominated the results of the 2012 meeting—including the approval of board

members that remained on the board during the {POR}.” Gov. Br. at 53 (citing

Final Redetermination (Sept. 24, 2021) (“2nd Remand”), at 45-47, Appx183-185).

These facts cannot reasonably support Commerce’s finding that the Chinese

government controlled GTC, let alone its export activities, because:

    GIIG, the SOE that owns 25.2% of Guizhou, was not involved in
     nominating director candidates. 2SAQR at 9, Appx2941;

    the elected GTC board members “do not have any position in GIIG or
     SASAC or any other government agency.” Guizhou Case Brief at 20,
     Appx3886; and

    the 2012 Meeting election complied with all legal requirements
     proscribed by GTC’s AoA, the PRC Company Law, and PRC Code—
     including protections against domination by any one shareholder.
     AQR Exhibit A-3A, Appx842-891; SAQR Exhibit 9, Appx2745-
     2762; SAQR Exhibit 1, Appx1896-1900.

Commerce thereby lacked a basis to deny GTC’s separate rate based on GIIG

having, years before the POR, democratically and transparently through a legally

constrained process voted to elect GTC directors—none of whom GIIG nominated.

      The Government asserts that “GIIG was the only shareholder with ‘the

requisite number of shares to convene a shareholders meeting.’” Gov. Br. at 16

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(emphasis in original). This claim is factually inaccurate; other smaller entities are

able to together convene shareholder meetings. AQR Exhibit A-8, Appx933; GTC

SAQR Exhibit 1 Art. 43, Appx1957-1958. This fact refutes Commerce’s reliance

on GTC’s AoA to deny GTC’s separate rate. See Gov. Br at 12-13; 2nd Remand at

18-20, Appx113-115. These AoA ensure “that the only way in which GIIC may

participate in GTC’s decision making is through the normal courses available to all

shareholders. There is absolutely no record evidence of any instance of ‘control’

over the operations or export activities of GTC.” 2SAQR at 10, Appx2942

(emphasis added).

      The gravamen of Commerce’s state control finding was that: “At the July

2015 meeting, GIIG used its own votes to approve its preferred board candidates

and preliminary profit distribution plan.” Gov. Br. at 54. According to Commerce,

such actions were “relevant to the factors Commerce considers when evaluating de

facto independence, i.e., profit distribution and selection of management.” Id. at

34; 2nd Remand at 49, Appx187. However, this separate rate denial lynchpin is

devoid of a nexus between GIIG’s voting and the SOE having “actual control”

over GTC’s “export activities”—long recognized linchpins of the separate rate

analysis. Opening Br. at 35-37; Commerce Memorandum (Oct. 5, 2016) (“Separate

Rate Memo”), at 1 (emphasis added), Appx3824; Silicon Carbide from China, 59

Fed. Reg. at 22,587; Heavy Forged Hand Tools from China, 71 Fed. Reg. 54,269,


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IDM Comment 3.

      Moreover, Commerce’s conclusion is rebutted by the critical fact that, two

months earlier: “GIIG’s preferred proposals on profit distribution and selection of

managers failed at a shareholder meeting in May 2015.” Gov. Br. at 51 (quoting

GTC v. United States, 641 F.Supp.3d 1371, 1385 (CIT 2023) (“GTC III”),

Appx44). That the SOE was unable to pass its preferred proposals constitutes

substantial evidence that Guizhou is not ultimately beholden to GIIG. That

these proposals subsequently were passed does not establish actual government

control over GTC’s export activities, the essential prerequisite for separate rate

denial. The 2015 GTC meetings demonstrate that GIIC participated transparently

and democratically through normal procedures, subject to legal restrictions. As

such, Commerce improperly misconstrues the ordinary operations of a company

that is 25.2% owned by an SOE as a basis to deny GTC’s separate rate.

      The Government heralds the CIT finding that “Commerce did not base its

determination on the company’s noncompliance with the {AoA} or applicable

Chinese law.” Gov. Br. at 54-55 (quoting GTC III, 641 F.Supp.3d at 1385,

Appx44). This finding does not support Commerce’s decision. As an initial matter,

Commerce in fact rested its original separate rate denial on the discredited finding

that the July 2015 Meeting was not open to all shareholders. GTC v. United States,

389 F.Supp.3d 1302, 1359-61 (CIT 2019), Appx8-10; IDM (Apr. 12, 2017), at 60,


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Appx63; Final Redetermination (Sept. 23, 2019) (“1st Remand”), at 14-15,

Appx109-110. Commerce thereafter continued denying GTC’s separate rate,

undeterred by the fact that all relevant meetings were “publicly announced and

open to all shareholders.” 1st Remand at 15, Appx110.

      Moreover, Guizhou’s separate rate eligibility does not hinge on GIIG having

done “anything improper, inimical to the company’s interests, or in derogation of a

fiduciary duty.” GTC, 641 F.Supp.3d 1886, 1396 (CIT 2023). With Guizhou

having rebutted the presumption, Section II, supra, Commerce could only deny

GCT’s separate rate by relying on substantial evidence supporting its finding of

actual government control over export activities. The ordinary operations of a

company with a one-quarter SOE ownership does not suffice, and only resulted in

denial because Commerce improperly extended the separate rate analysis for

majority SOE-ownership to GTC, as shown in Section IV below.

      B.     Aeolus’s Separate Rate Denial Is Unsupported

      The Government argues that Commerce properly denied Aeolus’s separate

rate based on: “(1) 49.06 ownership by state-owned entities, (2) ChinaChem

majority role in electing board members at the relevant shareholder meeting, and

(3) Aeolus’s board chairman serving as a representative of a state-owned entity.”

Gov. Br. at 50. Yet upon examination of the Department’s rationale, it is clear that

Commerce essentially based the denial on the first factor alone, that it then


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rounded up to equate with majority ownership; the second and third points are

corollaries of having a sizeable SOE shareholder and do not evidence government

control of Aeolus, let alone its export activities. Indeed, the Government concedes

that Commerce misplaced reliance on the fact that Aeolus’s “AoA allows its

majority shareholders to control the selection of its board . . . .” 2nd Remand at 6,

Appx144 (emphasis added). In fact, Aeolus is not majority SOE-owned. The

Government claims that nonetheless “Commerce’s path can be reasonably

discerned.” Gov. Br. at 46. Aeolus submits that Commerce’s path is an

administrative effort to conflate minority with majority SOE-ownership, to avoid

the necessary rigorous evidentiary evaluation.

      Commerce unreasonably found that “ChinaChem . . . controls Aeolus’ Board

selection process.” 1st Remand at 7 (emphasis added), Appx102. ChinaChem

played no role in nominating Aeolus Board members, as all “board member

candidates were nominated by the existing board.” SSRA at 1 (emphasis added),

Appx2903. The Government emphasizes that “no public shareholder . . . ever

nominated a director,” Gov. Br. at 45 (quoting 1st Remand at 8, Appx103), while

ignoring the fact that no SOE shareholders were involved in this process.

Moreover, the ChinaChem vote heralded by Commerce—besides undisputably

being transparent and democratic through a constrained legal process—is not

grounded in evidence, in light of a 19-day gap in the record. Opening Br. at 71-73.


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The Government improperly faults Aeolus for this omission. In fact, Aeolus did

“develop the record to rebut the presumption,” Section II, supra, and Commerce is

required by law to provide notice of deficient responses and “an opportunity to

remedy.” 19 U.S.C. § 1677m(d). The requisite notice and opportunity to remedy

was not accorded to Aeolus.

      That Aeolus’s board chairman served as a representative of a SOE likewise

does not reasonably evidence state control. The record confirms he acted in

accordance with Aeolus AoA Art. 113 by “attending the meeting . . . , reading the

proposals from other directors and voting on the proposals”—he “did not play any

other roles” for the SOE. SSRA at 2-3, Appx2904-2905; SRA Exhibit 11,

Appx655-656. Moreover, Aeolus AoA Article 98(9) provides that the Chairman

“shall not harm interest of the company using their affiliation relationship.”

SRA Exhibit 11 (emphasis added), Appx653. By disregarding these record facts to

deny Aeolus’s separate rate, Commerce improperly failed to consider “evidence

that fairly detracts from the substantiality of the evidence.” Gallant Ocean

(Thailand) Co. v. United States, 602 F.3d 1319, 1323 (Fed. Cir. 2010).

      Commerce likewise improperly sought to justify its denial on a contorted

reading of the Rectification Report. See 1st Remand at 11-13, 36, Appx106-108,

Appx131. Aeolus demonstrated that the Rectification Report could not be

construed as a basis for finding state control, and the Government declined to


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support those erroneous Commerce findings. Compare Opening Br. at 74-75 with

Gov. Br. at 49. The Rectification Report, by evidencing a cessation of intertwined

operations between ChinaChem and Aeolus before the AR7 POR, instead

constitutes substantial evidence disproving state control. Aeolus RFI Exhibit 1A,

Appx777.

IV.   COMMERCE IMPROPERLY USED THE SEPARATE RATE
      ANALYSIS FOR MAJORITY SOE-OWNED RESPONDENTS

      The Government relies heavily on precedent affirming Commerce’s

summary separate rate denial for majority SOE-owned respondents, in which

Commerce is not required to establish a direct nexus to actual control over export

activities. Gov. Br. at 16, 22-38, 47-48, 54; Diamond Sawblades Mgrs. Coal. v.

United States, 866 F.3d 1304, 1307 (Fed. Cir. 2017) (“DSMC”); China Mfgrs.

Alliance, LLC v. United States, 639 F.Supp.3d 1260, 1264 (CIT 2023); ZMC, 65

F.4th at 1368; Yantai CMC Bearing Co. v. United States, 203 F.Supp.3d 1317,

1317-26 (CIT 2017); Zhejiang Quzhou Lianzhou Refrigerants Co. v. United States,

350 F.Supp.3d 1308 (CIT 2018). The CIT in the majority SOE-ownership context

recognizes that:

    “a majority government shareholder will not be able to rebut the
     presumption of government control because . . . notwithstanding a
     lack of evidence of actual control, the majority shareholder is
     constantly in possession of the ability to exercise actual control.”
     An Giang Fisheries Imp. & Exp. Joint Stock Co. v. United States, 284
     F.Supp.3d 1350, 1357 (CIT 2018) (“An Giang II”) (emphases added);
     and, relatedly

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    the Aukerman standard is “unhelpful” to such respondents attempting to
     establish separate rate eligibility. Zhejiang Quzhou, 350 F.Supp.3d at 1323
     (emphasis added).

These CIT decisions found that majority SOE-owned respondents cannot rebut the

presumption of state control.

      By contrast, the CIT recognizes that minority SOE-owned respondents such

as Guizhou can rebut the presumption, as their separate rate denial must be

supported by “more indicia of control” beyond ‘potential control.’” An Giang II,

284 F.Supp.3d at 1361; Opening Br. at 29-33. Commerce failed to heed this

distinction, denying separate rates upon “considering whether the government ‘is

able to exercise, or have the potential to exercise, control of a company’s general

operations.” Gov. Br. at 36 (emphasis added) (citing Remand at 23-24, Appx118-

119). Commerce purports to have “analyzed additional indicia of control,” but its

evidentiary bases:

    for GTC, relies on actions at the July 2015 meeting, without
     considering actions at the May 2015 Meeting; and

    for Aeolus, relies on the board election at the 2014 Meeting, while
     disregarding the Rectification Report.

Section III, supra.

      Reviewing courts have affirmed Commerce’s rationale that the normal

operation of respondents with majority SOE shareholders is sufficient to deny

separate rates without evidence that the SOE actually controls export activities.
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Opening Br. at 37-40. Evidence of potential control is an appropriate basis to deny

separate rates for majority SOE-owned respondents. Opening Br. at 37-40.3

However, evidence of actual control is necessary to deny separate rates for

minority SOE-owned respondents. Commerce thereby impermissibly concluded,

without substantial evidence, that SOEs controlled Respondents’ export activities:

“It is well established that speculation does not constitute ‘substantial evidence.’”

Lucent Tech., Inc. v. United States, 580 F.3d 1301, 1328 (Fed. Cir. 2009).

      Moreover, Commerce improperly conflated general operations with export

activities that have been the longstanding focus of Commerce’s analysis, which

Commerce purportedly employed in AR7. U.S. Department of Commerce Policy

No. 05.1 (Apr. 5, 2005), Appx231; Separate Rate Memo at 1, Appx3824.

      The Government next claims that each de facto criterion can be evaluated in

isolation, and that a separate rate for a minority-owned SOE can be denied if

merely one of the four factors is not satisfied. Gov. Br. at 16-17. Commerce

correctly concedes that “there is no evidence that the SOE owners directly



3
       The Government heralds the lone CIT decision that potential control is
sufficient to deny a separate rate for minority SOE-owned respondents, viewing
each de facto factor in isolation. Gov. Br. at 16-17, 36-40 (citing I.D.I. Int’l Dev. &
Inv. Corp. v. United States, 2021 WL 3082807, *7 (CIT July 6, 2021)).
Respondents submit that I.D.I.—beyond being not binding on this Court—is
inconsistent with multiple CIT decisions requiring distinct analyses for majority-
and minority SOE-owned respondents, as well as Commerce’s traditional holistic
separate rate methodology. See Opening Br. at 40-49.
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exercised their control on the respondents’ export activities” and “no explicit

evidence that the Chinese government ‘actually did control’ export pricing.”

2nd Remand at 3-4, 19 (emphases added), Appx141-142, Appx157. Yet this Court

has only recognized that separate rates for majority SOE-owned respondents

may be denied based on the SOE having “the power to select managers and keep

the profit distribution—factors that Commerce has considered in establishing the

presumption of de facto control.” ZMC, 65 F.4th at 1372.

      This Court should decline to extend ZMC; rather, all factors should remain

relevant in evaluating the separate rate eligibility in the minority SOE-ownership

context. Commerce’s separate rate analysis historically “consider{s} the totality

of circumstances.” Jiangsu Jiasheng Photovoltaic Tech. Co. v. United States, 28

F.Supp.3d 1317, 1339 n.160 (CIT 2014) (emphasis added). The truncated analysis

used to deny Respondents’ separate rates, in which each factor is evaluated in

isolation and those favoring eligibility are ignored, is anathema to “considering the

totality of the circumstances.” Id. This truncated approach may be appropriate for

majority SOE-ownership because “the majority shareholder is constantly in

possession of the ability to exercise actual control.” An Giang II, 284 F.Supp.3d at

1357. However, there is no basis to extend this myopic analysis to respondents

which are minority SOE-owned, for which all factors should remain relevant under

the traditionally holistic inquiry.


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      In short, Commerce improperly transposed the standard for majority

ownership to deny Respondents’ separate rates. Guizhou and Aeolus ask this Court

to accept the CIT-recognized critical distinction between majority and minority

SOE-owned respondents. The truncated analysis through which Commerce denies

separate rates based on potential control over operations by considering each factor

in isolation—thereby creating an irrebuttable presumption of state control—should

be confined to the majority SOE-ownership context. The ordinary rebuttable

presumption, with its applicable Aukerman standard, as well as the nexus to actual

control over export activities through holistic consideration, should remain

applicable to the minority-owned SOE Respondents. Respondents are not asking

“the Court to reweigh the evidence” as the Government insists, Gov. Br. at 42, but

instead request that this Court compel Commerce to employ the correct evidentiary

and analytical separate rate framework in the first instance.

V.    COMMERCE ARBITRARILY REVERSED ITSELF

      Commerce granted GTC’s separate rate in the fifth administrative review

(“AR5”) of the ADD order on OTR from China in April 2015, in the middle of the

AR7 POR. OTR from China, 80 Fed. Reg. 20,197, 20,198-99 (Apr. 15, 2015) (final

results). That OTR AR5 proceeding is being appealed by Double Coin Holdings

Ltd., a majority SOE-owned respondent denied a separate rate, as a companion to

this AR7 appeal. China Mfgrs. Alliance, LLC v. United States, 639 F.Supp.3d


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1260, 1264 (CIT 2023), appealed as Fed. Cir. Case No. 23-2391. Between AR5,

when GTC was granted a separate rate, and AR7 when its separate rate application

was denied, GTC’s SOE ownership decreased from 33.84% to 25.2% and

Guiyang’s SASAC ceased conducting GTC performance reviews. Guizhou RFI at

2, 6, Exhibit 1, Appx1740, 1744-1753; AR5 Final Results, 80 Fed. Reg. at 20,198-

99. In AR7, Guizhou also provided additional substantial evidence of its

independence that was not submitted in AR5—including the Guiyang SASAC

Clarification and 2015 Annual Report. Section II.A, supra.

      The Government endeavors to defend this nearly contemporaneous

Commerce 180-degree about-face as “reflect{ing} the reasonable evolution of

Commerce’s analysis based on court decisions.” Gov. Br. at 57 (citing 2nd

Remand at 47-48, Appx185-186). This argument should be rejected. First,

extensive judicial precedent confirms the propriety of demarcating separate rate

analyses depending on whether the respondent is majority or minority SOE-

owned—a distinction which Commerce properly applied in AR5, evidenced by the

different outcomes for GTC and Double Coin. Second, simply stating that a

practice has evolved based on inapposite precedent does not constitute the requisite

“adequate explanation for the change.” SKF USA, Inc. v. United States, 630 F.3d

1365, 1373 (Fed. Cir. 2011).

      Finally, Commerce cannot reasonably find that a respondent demonstrating


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less SOE ownership and oversight than when it was granted a separate rate in the

past magically becomes ineligible for such status—in the absence of intervening

judicial precedent or a formal change in agency practice effectuated after notice

and opportunity for comment. Commerce cannot reasonably move the goal posts

by granting a separate rate in one proceeding, and shortly thereafter denying a

separate rate when the record in the second proceeding contains substantial

evidence of significantly less SOE ownership and control than in the first

proceeding. This contemporaneous reversal constitutes arbitrary agency action

resulting from “a clear error in judgment.” Hyundai Elecs. Indus. Co. v. United

States, 899 F.2d 1204, 1209 (Fed. Cir. 1990).

      Judicial precedent involving majority SOE-owned respondents does not

support Commerce jettisoning its multi-factor analysis into actual control over

export activities for respondents who are minority SOE-owned. Accordingly,

because “the Department provides no reasonable explanation for changing a

practice that it has consistently followed, such a change in an unacceptable

agency practice.” WelCom Prods., Inc. v. United States, 865 F.Supp.2d 1340,

1344 (CIT 2012). (emphasis added). Indeed, Commerce was required to provide “a

more detailed justification” for denying GTC’s separate rate, because “its new

policy rests upon factual findings that contradict those which underlay its

prior policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)


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(emphases added). Commerce inexplicably and unreasonably summarily denied

GTC’s separate rate through findings that contradicted the longstanding approach

followed since Silicon Carbide three decades ago—which had been properly

applied to GTC in AR5.

                                 CONCLUSION

      Commerce implemented a radically different separate rate analysis in AR7

than it had in the past. Until its recent change of practice with respect to majority-

owned SOEs, Commerce applied the Silicon Carbide analysis by granting separate

rates to respondents having significant—even 100 percent—SOE ownership:

    Hot-Rolled Carbon Steel from China, 66 Fed. Reg. 49,632 (Sept. 28,
     2001), IDM Comment 1 (granting separate rates despite government
     ownership);

    Heavy Forged Hand Tools from China, 71 Fed. Reg. 54,269 (Sept. 14,
     2006), IDM Comment 3 (“information submitted by the Petitioner
     addresses only potential control by SASAC . . . , rather than any
     actual control of the PRC government over the numerous individual
     export decisions . . . during the POR.”) (emphasis added);

    Circular Welded Carbon Quality Steel Line Pipe from China, 74 Fed.
     Reg. 14,514 (Mar. 31, 2009), IDM Comment II (separate rate granted
     to subsidiary of company directly owned by SASAC);

    Oil Country Tubular Goods from China, 75 Fed. Reg. 20,335, 20,338-
     40 (Apr. 19, 2010) (well-known SOE granted separate rate);

    Utility Scale Wind Towers from China, 77 Fed. Reg. 75,992 (Dec. 26,
     2012), IDM Comment 6 (“the Department has previously found an
     absence of de jure government control for companies with various
     forms of state ownership”) (emphasis added); and

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    Small Diameter Graphite Electrodes from China, 81 Fed. Reg. 62,474
     (Sept. 9, 2016), IDM Comment 1 (“examin{ing} whether the holding
     of a minority stake of a producing entity which is a subsidiary of the
     exporter, by a local SASAC entity, amounts to de facto government
     control . . . . {B}ased on the totality of the circumstances, we find that
     there is an absence of government control.”).

      This Court has affirmed Commerce’s change of practice to automatically

deny separate rates for majority SOE-owned respondents through an irrebuttable

presumption. This approval reflects the fact the government actually controls a

corporate entity in which it has majority ownership. Opening Br. at 37-40. That

truncated analysis, however, should not be extended to minority SOE-owned

respondents such as GTC, since minority ownership does not constitute control. Id.

at 40-44. Where minority SOE-ownership exists, the normal rebuttable

presumption, Aukerman standard, nexus to actual control over export activities,

and holistic consideration of all factors should remain intact. Id. at 37-44.

Otherwise, there will be no limits on Commerce’s authority to deny separate rates;

indeed, Commerce is poised to find an exporter part of the China-wide entity

despite it having no SOE ownership whatsoever. See Pea Protein from China, 89

Fed. Reg. 10,038 (Feb. 13, 2024) (preliminary determination), Decision

Memorandum at 9-10.

      Respondents respectfully request that this Court clarify that its recent

holdings in ZMC, DSMC, and AR5 are limited to records in which there exists


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majority SOE-ownership. This Court should further clarify that Commerce does

not have carte blanche to deny separate rates by applying a test contrary to

longstanding agency practice.

      Based on the foregoing and as set forth in Respondents’ Opening Brief,

Guizhou and Aeolus respectfully request that the CIT’s judgment be reversed and

remanded for further consideration consistent with this Court’s opinion.

                                       Respectfully submitted,
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Dated: June 20, 2024




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       1.     This brief complies with the type-volume limitations of Federal Rule

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This brief contains 6,794 words, excluding the parts exempted by Federal Rule of

Appellate Procedure 32(f) and Federal Circuit Rule 32(b)(2).

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Dated: June 20, 2024                                /s/ Jordan C. Kahn
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